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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



   IN RE: NATIONAL PRESCRIPTION                     MDL No. 2804
         OPIATE LITIGATION

         This document relates to:                  Case No. 17-md-2804
 The County of Summit, Ohio, et al. v. Purdue
             Pharma L.P., et al.
           Case No. 18-op-45090                     Hon. Dan Aaron Polster


                   HENRY SCHEIN DEFENDANTS’ AMENDED TRIAL
                                 EXHIBIT LIST

       Pursuant to the Civil Jury Trial Order, ECF No. 1598, entered on May 1, 2019, (as

amended on July 29, 2019) and as set forth in the Parties’ Joint Trial Exhibit Stipulation and

Template submitted to the Court on August 16, 2019, attached as Exhibit A is Henry Schein,

Inc. and Henry Schein Medical Systems, Inc.’s (the “Schein Defendants”) Amended Trial

Exhibit List.   The Schein Defendants submit this amended trial exhibit list subject to the

following reservation of rights:

       1) To withdraw at any time any exhibit identified on this list;

       2) To use admissible exhibits identified or used by Plaintiffs and/or any of the
       Defendants;

       3) To supplement and/or to amend this list upon receipt of Plaintiffs’ exhibit list, witness
       list and/or amendments and changes to Plaintiffs’ or Defendants’ deposition designations
       or counter-designations;

       4) To supplement and/or to amend this list in the event that additional relevant documents
       or materials are produced in this action, identified in subsequent supplemental expert
       reports, or are discovered subsequent to the date of service of this exhibit list;

       5) To supplement this list with any medical or scientific literature, other data, or
       [regulatory findings or communications] issued or published after the date of this
       submission;


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       6) To supplement and/or to amend this exhibit list or to use additional documents at trial
       as required for rebuttal, cross examination, demonstrative purposes, impeachment
       purposes, or to cure an evidentiary objection, or to the extent Plaintiffs proffer any
       documents which Plaintiffs have not listed, or to the extent that Plaintiffs purport to
       pursue claims or theories not set forth in their pleadings to date;

       7) To supplement and/or to amend this list in response to rulings of the Court on pretrial
       motions, including any Daubert motions, Motions for Summary Judgment, or motions in
       limine, or any other Court decisions that affect the scope of evidence in this trial; and

       8) To supplement and/or amend this list as necessary based on the Court’s order
       regarding the severing of particular Defendants [ECF No. 2399] and/or as necessary
       based on the future severance, settlement, and/or dismissal of any other Defendants.

       The Schein Defendants also reserve the right to object to the introduction and/or

admissibility of any document listed on any parties’ exhibit list. The inclusion of a particular

document on the Schein Defendants’ exhibit list does not waive any the Schein Defendants’ right

to object to the introduction and/or admissibility of that document for any purpose. Certain of

the Schein Defendants’ listed exhibits may also pertain to topics that are ultimately excluded

from evidence at trial by motion in limine or one of the pending Daubert motions to exclude all

or portions of certain Plaintiffs’ experts’ opinions.     By listing such exhibits, the Schein

Defendants do not intend to waive any right to object to the introduction and/or admissibility of

those documents for any purpose. The Schein Defendants also reserve the right to use any

deposition transcripts and any exhibits to deposition transcripts for any witnesses being called to

testify at trial. The Schein Defendants reserve the right to use any and all documents or materials

listed by any other party, including any other defendant even if such defendant may later settle,

be severed, or be otherwise dismissed from the Track One trial. The Schein Defendants also

reserve the right to introduce into evidence any document associated with designated deposition

testimony.

       The inclusion of any exhibit on an Exhibit List shall not waive or affect any prior

confidentiality designation in this litigation. Certain exhibits that were previously produced

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during discovery are identified by bates number or native file name. The Schein Defendants

expressly reserve the right to use alternative copies of such exhibits where appropriate, including

but not limited to certified, physical, color, redacted, and/or native documents, or copies without

deposition exhibit stickers, or “Confidential” or “Highly Confidential” labels or legends. The

Schein Defendants reserve the right to use at trial summaries created in accordance with Federal

Rule of Evidence 1006 and demonstrative exhibits, including without limitation: charts, graphs,

photographs, animations, timelines, objects, models, PowerPoint slides, drawings, graphics, and

other demonstrative aids. The Schein Defendants reserve the right to offer enlargements of any

exhibits on the list or on any party’s exhibit list.




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Dated: October 7, 2019                             Respectfully Submitted,


                                                   /s/ John P. McDonald
                                                   John P. McDonald
                                                   C. Scott Jones
                                                   Lauren M. Fincher
                                                   Brandan J. Montminy
                                                   LOCKE LORD LLP
                                                   2200 Ross Avenue, Suite 2800
                                                   Dallas, TX 75201
                                                   Tel: (214) 740-8000
                                                   Fax: (214) 756-8758
                                                   jpmcdonald@lockelord.com
                                                   sjones@lockelord.com
                                                   lfincher@lockelord.com
                                                   brandan.montminy@lockelord.com

                                                   Counsel for Henry Schein, Inc. and Henry
                                                   Schein Medical Systems, Inc.

                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served via the Court’s ECF system to all

counsel of record.


                                                          /s/ John P. McDonald
                                                          John P. McDonald




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